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 8
                                   UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10
                                       SAN FRANCISCO DIVISION
11

12   BAYVIEW LOAN SERVICING, LLC,                     ) CASE NO.
                                                      )
13           Plaintiff,                               )
                                                      )
14      v.                                            ) NOTICE OF REMOVAL OF CIVIL ACTION
                                                      )
15   DAVE STANELY; BERRY W. MEYER,                    )
     Executor of the Estate of Melvin Rouse; and      )
16   DOES 1 to 50.                                    )
                                                      )
17           Defendants.                              )
                                                      )
18                                                    )

19           Pursuant to 28 U.S.C. §§ 1441, et seq., the undersigned hereby presents the following facts to the
20 Judges of the United States District Court for the Northern District of California on behalf of the United

21 States of America.

22           1.      Bayview Loan Servicing, LLC (“Bayview”), filed a Complaint on or about April 15,
23 2020, in the Superior Court of the State of California in and for the County of Sonoma, numbered SCV-

24 266245 and bearing the above caption.

25           2.      A copy of the above-mentioned Complaint was received in the Office of the United
26 States Attorney for the Northern District of California on July 28, 2021, marked as Exhibit A to this

27 Petition.

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     NOTICE OF REMOVAL
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 1          3.      The Complaint is one which may properly be removed to this Court pursuant to

 2 28 U.S.C. §§ 1442(a)(1) and 1444, which provide, in pertinent part:

 3                  § 1442

 4                  (a) A civil action or criminal prosecution commenced in a State court
                    against any of the following persons may be removed by them to the
 5                  district court of the United States for the district and division embracing
                    the place wherein it is pending:
 6
                        (1) Any officer of the United States or any agency thereof, or person
 7                      acting under him, for any act under color of such office or on account
                        of any right, title or authority claimed under any Act of Congress for
 8                      the apprehension or punishment of criminals or the collection of the
                        revenue.
 9
                    § 1444
10
                    Any action brought under section 2410 of this title against the United
11                  States in any State court may be removed by the United States to the
                    district court of the United States for the district and division in which the
12                  action is pending.

13          4.      This petition is filed within the time prescribed by 28 U.S.C. §§ 1446(b).

14          5.      A copy of this Notice is being filed with the Clerk of the Sonoma County Superior Court,

15 Civil Division. This filing in will automatically effect the removal action described above in its entirety

16 to this Court for all future proceedings pursuant to 28 U.S.C. § 1446(d).

17

18          WHEREFORE, the undersigned petitions this Court on behalf of the United States, that the

19 Complaint described in paragraph 1 above be removed to this Court for all further proceedings.

20

21 DATED: August 27, 2021                                  Respectfully submitted,

22                                                         STEPHANIE M. HINDS
                                                           Acting United States Attorney
23
                                                           /s/ Adrienne Zack
24                                                         ADRIENNE ZACK
                                                           Assistant United States Attorney
25

26                                                         Attorneys for the United States

27

28


     NOTICE OF REMOVAL
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